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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                              :
LEAGUE OF WOMEN VOTERS OF PENNSYLVANIA,                       :
et al.,                                                       :
        Plaintiffs,                                           :   No. 17-cv-5137
v.                                                            :
                                                              :
THE COMMONWEALTH OF PENNSYLVANIA, et al.,                     :
     Defendants.                                              :
                                                              :

                                    NOTICE OF APPEAL

       Notice is hereby given that DEFENDANT JOSEPH B. SCARNATI, III, IN HIS

OFFICIAL CAPACITY AS PENNSYLVANIA SENATE PRESIDENT PRO TEMPORE

hereby appeals to the United States Court of Appeals for the Third Circuit from the Order

entered in this action on April 13, 2018 (Document 29), which granted Plaintiffs’ Motion for

Counsel Fees and Costs.

                                            Respectfully submitted,

Dated: April 16, 2018                       s/ Matthew H. Haverstick
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                                            Scarnati, III, In His Official Capacity as Senate
                                            President Pro Tempore
